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REV]SED (05!90)

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UN!TEI) srArEs DISTRICT CoURT _§;; §§ ;§
for `:J F‘l§i §;3
wEsTERN DlsTRIcT oF TENNESSEE ~'j`j§l'-”: jj
”_;_' :' §§ cit
WESTERN DIVIsIoN jj"` ::, §§ §

 

 

U.S.A.vs. Gina Gail Smith

Petition on Probation and Supervised Release

COMES NOW DAWN L. BROWN , PROBATION OFFICER OF THE COURT presenting an
official report upon the conduct and attitude of Gina Gail Smith, who was placed on probation by the Honorable J_o_r_ij
Phipps McCa]la sitting in the Court at Mem_t_)hisj Tennessee , on thel§thjday of Febr_l_lagg , _Z_(M_, who fixed the
period of Probation at one f 1 l year, and imposed the general terms and conditions theretofore adopted by the Court
and also imposed Special Conditions and terms as follows:

 

l. The defendant shall not possess firearms or other dangerous weapons.

2. The defendant shall submit to drug testing and drug treatment programs as directed by the Probation
Ofiice.

3. The defendant shall seek and maintain full-time employment

4. The defendant shall cooperate with DNA collection as directed by the Probation Office.

S. The defendant shall continue follow-up care regarding drug rehabilitation

6. The defendant shall pay a $1,000.00 line. (Balance $600.00)

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
SEE ATTACHED

PRAYING THAT THE COURT WILL ORDER a SUMMONS be issued for Gina Gail Smith to appear before
the United States District Court to answer charges of violation of Probation.

ORDER OF COURT I declare under penalty of perjury that the
foregoing is true and correct.

Considered and ordered Ha- day Execut j _,_
of G..\ , 209_$` and ordered on &O/\ LQ OQO 90 O 5

filed and made a part of the records in Q' >
the above case. l /) 1_. M\ ‘ _r_._.

M m ((MQA Onitl:d States Ij{obalior?bfiicer

itc States District Judge Place: Mcmohis. TN

Thls document entered on the docket maxim criénr§|Ls_ncg 1
with Rule 55 and/or 32(1:)) FHCrF’ on‘_£ / § @

 

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Gina Gail Smith
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Page 2

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS F()LLOWS:

The Defendant I-Ias Violated The Following Condition of her Probation:

The defendant shall not illegally possess a controlled substance.

On March 9, 2005 while a resident at the Hope Center Drug Rehab Center, Ms. Smith was found in the bathroom
in a comatose state which appeared to have been induced by an illicit substance Ms. Smith Was transported to the
Regional Medical Center at Memphis where her discharge diagnosis was Acute Polysubstance Abuse and
lntoxication. Ms. Smith voluntarily admitted that on March 9, 2005 she used Heroin.

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VIOLATION WORKSHEET
Case 2:05-cr-20043-.]P|\/| Document 7 Filed 04/25/05 Page 3 of 5 Page|D 13

Defendant Gina Gail Smith (1383 Kney, Memphis, TN 38107)

 

 

Doeket Number (Year-Sequence-Defendant No.) 2:05CR20043-0]
District/Office Western District of Tennessee (Memphis)
Original Sentence 02 ll / 2005

Date month day year

(l f different than above):

5.
6.

7.

ll).

ll.

Original District/Ol`lice

 

Original Docket Number (Year-Seq uence-Defendant No.)

 

List each violation and determine the applicable grade w §7Bl.l}:

Violation(s! Grade
Illegally possessed/used a controlled substance B

 

 

 

 

 

 

 

 

Most Serious Grade of Violation (§e§ §7Bl.1(b)) B
Criminal History Category (§g §7Bl .4(a))74 ll
Range of imprisonment (_s_e_e §7B l .4(a)) 6 - 12 months

 

 

 

Statutory Maximum: Not More Than One (l) year.
Sentencing Options for Grade B and C Violations Only (Check the appropriate box):

{ x } (a)lfthe minimum tenn of imprisonment determined under §7}31.4 (Term ofImprisonrnent) is at least one month but not
more than six months, §7B 1.3 (c)(l) provides sentencing options to imprisonment

{ } (b)lf the minimum term of imprisonment determined under §7B l .4 (Term of Imprisonment) is more than six months but
not more than ten months, §7Bl.3(c)(2) provides sentencing options to imprisonment

{ } (c)lf the minimum term of imprisonment determined under §7B1.4 (Term of Imprisonment) is more than ten months, no

sentencing options to imprisonment are available

Mail documents to: United States Senteneing Commission, 1331 Pennsylvania Avenue, N.W
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

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l3.

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Unsatisfied Conditions of Original Sentence

List any restitution, fine, community confinement, home detention, or intermittent confinement previously imposed in connection
with the sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {_se_e §7Bl .3(d)}:

 

 

 

Restitution ($) N/A Community Continement N/A
Fine ($) $600.00 Home Detention N/A
Other N/A Intermittent Conflnement N/A

 

Supervised Release

If probation is to be revoked, determine the length, if any, of the term of supervised release according to the provisions of §§5Dl .l-
1-3{§@ §§7}31-3(§)(1)}-

Term: to years
lt` supervised release is revoked andthe term of imprisonment imposed is less than the maximum term of imprisonment impossible
upon revocation, the defendant may, to the extent permitted by law, be ordered to recommence supervised release upon release

from imprisonment {@ 18 U.S.C. §3583(e) and §7Bl.3(g)(2)}.

Period of supervised release to be served following release from imprisonment

 

Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

 

 

 

 

Of`ficial Detention Adjustment {§E §7Bl.3(e)}: months days

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.'C., 20004, Attention: Monitoring Unit`

 

_ ISTRIC COURT - WESRTE DISTRCIT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20043 was distributed by faX, mail, or direct printing on
Apri126, 2005 to the parties listed.

 

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Memphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

